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October 27, 2021 - NOV 74 2024

CLERK, U.S, BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA
MEMORANDUM BY IL RPPUTY

TO: United States Bankruptcy Court
Southern District of California

ATTN: David A. Ortiz
United States Department of Justice
Office of the United States Trustee

FROM: Alabama Department of Senior Services a
Office of the State Long-Term Care Ombudsman Program.
Attn: Accounts Payable
201 Monroe St., Ste. 350
Montgomery, AL 36130

RE: OMBUDSMAN REPORT - Case No. 20-00018-LA11

Please consider this memorandum as the eighteenth and FINAL request for reimbursement of costs
incurred related to the monitoring of resident quality care in the above referenced case. This request
covers the period September, 2021.

Please see the attached invoice and spreadsheet that documents the time spent by Virginia Moore-Bell,
State Long-Term Care Ombudsman and the local ombudsman representative at the United Way Area
Agency on Aging in the total amount due of $142.40.

If you have any questions or concerns, please do not hesitate to contact Todd Cotton, CPA, Alabama

Department of Senior Services at 334-242-5743 or Virginia Moore-Bell, Director of the Office of the
State Long-Term Care Ombudsman Program at 334-242-5753.

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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

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IN RE: : CHAPTER 11 Ley ge TERN
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S. BANKRUPTCY COURT

Vestavia Hills, LLC
d/b/a Mt. Royal Towers

CASE NO. 20-00018-LA11

DEBTOR.

OMBUDSMAN REPORT
EIGHTEENTH and FINAL APPLICATION FOR ALLOWANCE OF COMPENSATION BY

VIRGINIA MOORE-BELL, STATE LONG TERM CARE OMBUDSMAN FOR THE OFFICE OF

THE STATE LONG TERM CARE OMBUDSMAN PROGRAM, AS PATIENT CARE OMBUDSMAN

This Application for Allowance of Compensation of $142.40 by Virginia Moore-Bell as Patient

Care Ombudsman for the month of September, 2021 is submitted pursuant to Federal Rules

of Bankruptcy Procedure 2016(a).
Applicant respectfully represents as follows:

1. Applicant is the State Long Term Care Ombudsman for the State of Alabama.

2. Applicant was appointed Patient Care Ombudsman in the instant case on January 16, 2020.

3. Applicant values the services rendered in the instant case at $142.40.

Such amount represents Applicant’s time and the local ombudsmen representative’s time spent on the

above referenced case. A detailed description of the hours expended and expenses incurred by both

agencies is attached.

DISTRICT OF CALIFORNIA
DEPUTY
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WHEREFORE, Applicant respectfully requests that this Court approve her eighteenth and FINAL
Application for Allowance of Compensation as Patient Care Ombudsman for the month of September,
2021 in the total amount of $142.40.

This 27th day of October, 2021.

Respectfully submitted,

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Virginia Moore-Bell

Patient Care Ombudsman

Alabama Department of Senior Services

201 Monroe St., Ste. 350

Montgomery, Alabama 36104

Telephone: 334-242-5753; Facsimile: 334-353-1596
virginia. bell@adss.alabama.gov

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IN THE UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF CALIFORNIA

In the Matter of:

Vestavia Hills, LLC
d/b/a Mt. Royal Towers

Case No: 20-00018-LA11

OMBUDSMAN REPORT
EIGHTEENTH AND FINAL REPORT OF PATIENT CARE OMBUDSMAN

|, Virginia Moore-Bell, LBSW, State Long Term Care Ombudsman and the duly appointed Patient
Care Ombudsman in the above case, and my representatives, file this seventeenth Patient Care
Ombudsman Report pursuant to 11 U.S.C. §333(a) and F.R.B.P. Rule 2007.2. This report is for the
monitoring period September, 2021. All monitoring visits included resident and staff interviews and
observations.

Mt. Royal Towers

Ombudsman conducted follow-up interviews with the administrator, DON, Dietary, residents, and a
family member on September 23, 2021. The current census is 118.

Ombudsman spoke with resident RM who stated that she was doing well and felt she was being treated
well by the staff. Ombudsman asked if visits had resumed as the visitation restrictions had been
loosened to include porch visits. Resident RM reported that she has not been able to do any visits and
was not aware that this was an option. Ombudsman suggested resident speak with staff regarding
visitation. Resident RM stated she was aware of the bankruptcy and did not see it as a concern.
Ombudsman asked about the food in the facility as it has been a concern on previous occasions. She
stated that the menu has changed but she was not sure it was any better. She appreciated the variety.

Ombudsman spoke with Resident JA who stated that he was aware of the bankruptcy but has forgotten
about it. He denied that it was affecting his care. He stated that there is enough staff to assist him and
he feels they treat him well. He stated that the food is better but still lacks flavor. Ombudsman asked if
he has had any visits and he stated that he has visited with family through the glass and will be glad
when visitation resumes in the facility.

Ombudsman spoke with the daughter of Resident RM who stated that she was not happy with her
mother's care. She stated that she wanted her mother moved to a facility closer to her in Tennessee, but
the facility was dragging their feet in making this happen. She stated that she felt they were doing so
because they did not want to lose the money for her mother. Ombudsman asked if she was aware of the
bankruptcy and she stated she was and she felt they were trying to keep her mother so their numbers
would look good. She stated that they did a decent job but felt her mother needed to be closer to her
especially now that facilities were opening back up for visits.

Ombudsman spoke with the administrator, Tish Bell, about the concerns and she stated that they have
submitted all the needed information to numerous facilities in Tennessee, but none have accepted the

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resident. She stated they have no reason to hold any resident who wishes to relocate especially if it
meant them being closer to family. Administrator reported there are no Covid cases at this time and
porch visits have resumed. Administrator reported that there may be a potential buyer but it was not
official.

Ombudsman spoke with the DON Valerie, regarding the bankruptcy. She reports that she is aware of the
bankruptcy but is not concerned about it. She stated they have enough staff but could always use more.
She stated that she has not noticed a lapse in care for the residents or lack of staff due to the
bankruptcy. She stated that any gaps in staffing would be due to Covid and not the bankruptcy.

Ombudsman spoke with Dietary Manager regarding concerns about the food that were expressed last
month during monitoring. The Dietary Manager stated that he attended the last Resident's Council
Meeting to address these concerns. He stated that he added new items to the menu such as crab cakes,
but the residents did not like it. He reports most times the residents only want the same thing, |
expressed that there were also concerns about the flavor of the food. He stated that for a few residents,
he did clear the use of Ms. Dash. He stated he would explore the option of having it available for more
residents but had to clear it due to the potassium content. The Dietary manager reported he is aware of
the bankruptcy but does not feel that it has affected the residents or the quality of the food. He stated
he is about to change the menu for the fall and has not had problems with getting approval to purchase
the needed items. Ombudsman also received copies of the menus for the month of September. It does
appear to have more variety.

Summary of Report

It has come to the attention of this office that Mt. Royal Towers has been sold and our services are no
longer required as Patient Care Ombudsman. This is the FINAL report for bankruptcy monitoring of the
facility. However, the local ombudsman will continue to monitor the facility as needed to ensure the
residents are receiving quality care and will address any concerns or complaints received.

Respectfully submitted this 27th day of October, 2021.

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Virginia Moore-Bell, State Long Term Care Ombudsman
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Alabama Dept. of Senior Services
Office of the State Long-Term Care Ombudsman Program

Period Covered: September, 2021
A B
Date Reason
10/27/2021 Preparation of Report

Reimbursement request for Bankruptcy Case

c D E F G H
Salary and Fringe Benefit Total Travel Mileage
Time in hours Hourly Rate Salary and Fringe Per Diem Mileage rate
(C *D)
1.00 $ 51.60 $ 51.60
1.00 [s. 51.60 | Td

J J
Total
Reimbursement
@ $.575/mile Request
(G*H) (E+F +h)
$ - $ 51.60
$ : $ 51.60

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United Way AAA of Jefferson County

Reimbursement request for Bankruptcy Case

Period Covered: 914/21 - 9/30/21
A B Cc D E F G H I J
Total

Salary and Fringe Benefit Total Travel Mileage Reimbursement

Date Reason Time in hours Hourly Rate Salary and Fringe Per Diem Mileage rate @ $.575/mile Request

(C*D) (G*H) (E+F +l)
9/23/2021 Monitoring interviews 2.25 $ 24.30 $ 54.68 10 0.5750 $ 5.75 $ 60.43
9/23/2021 Documentation 1.25 $ 24.30 $ 30.38 0.5750 $ - $ 30.38
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Signature

CI~ 40/25/2021

